Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 1 of 37

 

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U.S, District Court, District of Columbia
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Exhibit A
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 2 of 37

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 3 of 37

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Foreword

We are pleased to present the 2019 Antitrust Annual Report produced in partnership with the University of San
Francisco Law Schoo! and The Huntington National Bank.

Compared with last year’s report, the data set was expanded to include an additional five years of information.
This longer time frame makes the analysis more valuable to identify trends and evaluate the impact of federal
antitrust class actions. Key findings include:

* From 2009-2019, a mean number of 117 consolidated complaints were filed per year, with outlier years as
low as 72 and as high as 211.

* From 2009-2019, there were Defendant Wins in 95 cases as a result of judgments on the pleadings,
summary judgment, judgment as a matter of law, or trial.

¢ From 2009-2019, most antitrust class actions that reached final approval did so within 5-7 years.

e The mean settlement amount varied by year from $6 million to $41 million, and the median amount varied
by year from $2 million to $11 million.

e The total annual settlements ranged from $225 million to $5.3 billion per year.
° The cumulative total of settlements was $24.1 billion from 2009-2019.

We want to acknowledge several people who helped with the report including Lindsay Tejada, Matt Colon, and
Abby Van Nostran. We would also like to acknowledge Lex Machina as our primary data source.

We hope that you find this information interesting and helpful.

Professor Joshua Davis Rose Kohles
University of San Francisco Law School The Huntington National Bank
davisj@usfca.edu rose.kohles@huntington.cam

 

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 4 of 37

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Table of Contents

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Federal Antitrust Class Action Settlements:

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Cases with Settlements Reaching Final Approval in 2019.0... .ccccceccsecseecseseseesesseseesesessesssessseesasenteessenseeres 18
Top 50 Cases with Settlements Reaching Final Approval 2009-2019..........ccceccsessssssssteereeeeseesetsrssenseneenaes 20
Class Recovery by Settlement SiZ@........ ce ecceescecessecenencereneeesseceseecseassseeesueeanensseesaseenseeaseeesasesseeensseneneearenees 25

Top Firms in Antitrust Class Actions:

Top 25 Firms Acting as Defense Counsell... seeesceessesteessseeecsessecesssceesseesesssseessesesesseesesseneeaeeneceueeneeesnese 28
Top 25 Lead Counsel in Complaints Filed.......cccesccccsssssssssssessetecsesasseeseseecessnerscesespsceneeeseseneeneeetseneneaeeaaenne 29
Top 25 Lead Counsel in Number of Settlements... cccesseesesesenssssessesssecsesssnseeeasseeetseeseeesseneeeanereceeeeenete 30
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Electronic copy available at: https://ssrn.com/abstract=3696975
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 5 of 37

 

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 6 of 37

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2019 Year at a Glance

Federal Antitrust Class Actions

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 7 of 37

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Consolidated Filings by Year

The number of consolidated filings generally increased from 2009 through 2019. Filings reached a low point in
2011—72 filings—and increased in 5 of the 8 years since then. During the 11-year period, the 211 filings in 2019
were well above the mean of 117. In contrast, 2011 and 2017—72 and 74 filings, respectively—were below the
mean by more than one standard deviation. (A standard deviation is approximately 38 filings.)

Less clear is what these numbers mean. Without 2019, the unexplained variation between years was much
greater than the increasing trend over the years. The 130 filings in 2012 are similar to the 132 filings in 2016 and
the 136 filings in 2018, and different from the 72 filings in 2011 and the 74 filings in 2017. Perhaps these vari-
ations from year to year are random. If so, from 2009 through 2018 we see a gradual increase in filings with a
great deal of annual variability.

Then there is the puzzle of 2019. Filings increased dramatically to 211. That could just be an anomaly. If it is
not—and reflects the economic or legal environment—what does it reveal? Perhaps data in the years to come
will help to explain if the increase in consolidated filings in 2019 is part of a longer-term trend, or if it is truly an
outlier.

Figure 1: Federal Antitrust Filings
2009 - 2019

Federal Consolidated Antitrust Filings by Year
250
211

200

150 136

130 126 132

110
oy 105 99
100

# of Consolidated Filings

72 74

50

2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 2019

Year

Electronic copy available at: https://ssrn.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 8 of 37

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Consolidated Filings by District Court

Since 2009, there were approximately 1,300 consolidated antitrust class action filings across all federal district
courts in the United States. Of these districts, the Southern District of New York (197), the Northern District of
California (151), and the Eastern District of Michigan (123) have been the most frequent forums. There appears
to be five district courts—add the District of New Jersey and the Northern District of Illinois to the others listed
above—in which plaintiffs file the most cases.

We may wonder whether the filing behaviors are based on the law in the district and circuit, a desire for
judicial expertise based on experience in antitrust law, geography of the defendants, or some combination of
the three. The relatively large number of antitrust cases filed in these five courts may be a characteristic of the
underlying cases and defendants themselves. For example, as indicated on page 16, antitrust settlements with
defendants in the Financial Services industry have returned the most by aggregate dollars to classes compared
to other industries. There is then a correlation between the center of finance in the United States—New York
City—and the forum in which these cases tend to be litigated—the Southern District of New York.

Figure 2: Federal Antitrust Filings by District Court by Year
2009 - 2019

Consolidated Filings by District Court

SDN =e mT 17
Na ae 157
CD Mich TT 123

NS 105

ND TT 25 |

District Court

C.Cl a 51
E.D.?2 Ly 42
5.0.5. i 38
E.D.N.Y. a 34
E.D.Va. —N 34

0 50 100 150 200

Number of Filings

Electronic copy available at: https://ssrn,com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 9 of 37

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Time from Filing to Final Approval

During the period from 2009-2019, the median time from the filing of the complaint to the order granting final
approval of a settlement was 5 years. Figure 3 illustrates a general increase in the length of time to reach final
approval from 4.5 years in 2009 to 5.5 years in 2019.

Figure 3: Percentage of Cases Settled by Number of Years from Filing to Final Approval

2009 - 2019
Year $2 years 3-4 years 5-7 years 8+ years Mean Years
2009 15.4% 34.6% 46.2% 3.8% 4.5
2010 17.9% 43.6% 33.3% 5.1% 4.3
2011 10.0% 52.2% 33.3% 4.4% 4.2
2012 13.4% 41.8% 37.3% 7.5% 4.7
2013 8.5% 14.9% 53.2% 23.4% 5.5
2014 6.0% 11.9% 50.7% 31.3% 7.4
2015 21.2% 21.2% 26.9% 30.8% 5.1
2016 27.9% 37.0% 16.9% 18.2% 4.5
2017 6.5% 58.7% 26.1% 8.7% 4.4
2018 11.4% 24.4% 60.2% 4.0% 4.9
2019 1.9% 42.1% 48.6% 7.5% 5.5
All Years 13.4% 34.7% 38.7% 13.1% 5.0

 

 

 

Figure 4: Number of Years from Filing to Final Approval for Federal Cases

2009 - 2019
Number of Years from Filing to Final Approval
400 375
350 337
w
# 300
wu
€ 250
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£ 200
a 150 130 127
°
5 100
2
£ 50
=
2 0
<2 years 3-4 years 5-7 years 8+ years

Time from Filing to Final Approval

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 10 of 37

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Defendant Wins by Case Resolution

Of the 95 cases won by defendants between 2009-2019, over half were based upon judgment on the pleadings,
One third of them were won at summary judgment.

Figure 5: Defendant Wins by Case Resolution
2009 - 2019

 

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Case Resolution # of Cases % of Cases

Judgment on the Pleadings 54 57%
Summary Judgment 31 33%

Trial 8 8%

Judgment as a Matter of Law 2 2%
Total 95 100%

 

Figure 6: Percentage of Defendant Wins by Case Resolution

 

2009 - 2019
Defendant Wins by Case Resolution
8% 2%
33%
57%
a Judgment on the Pleadings # Summary Judgment a Trial » Judgment as a Matter of Law

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 11 of 37

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Defendant Wins by Length of Case Resolution

Comparing figures 5, 6, and 7, judgment on the pleadings was the quickest resolution in favor of defendants, and
the most frequently awarded by the courts. Judgments on the pleadings were ordered on average 1.6 years after
filing. Summary judgment was ordered on average 4.3 years after filing, and was also a frequent way for a
defendant to win. Judgment as a matter of law during trial was ordered on average 3.7 years after filing.

As expected, a resolution by trial was the most time consuming, lasting on average for 8 years between filing and
a court’s order to resolve a case.

Figure 7: Defendant Wins by Length of Case Resolution

2009 - 2019
Average Length of Time to Case Resolution

10

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Number of Years
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Judgment on the Summary Judgment Judgment as a Matter of Trial
Pleadings Law
Case Resolution
fl Average Time to Resolution Order © Average Time to Resolution (with all appeals resolved)

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Electronic copy available at: https://ssrn.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 12 of 37

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Top Defense Counsel in Defendant Wins

 

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1 Morgan Lewis & Bockius LLP 10
2 Gibson, Dunn & Crutcher LLP 9
3 Kirkland & Ellis LLP 9
4 O’Melveny & Myers LLP 7
5 Boies, Schiller & Flexner LLP 7
6 Baker Botts LLP 7
7 Winston & Strawn LLP 7
8 Sidley Austin LLP 7
9 Skadden, Arps, Slate, Meagher & Flom LLP 6
10 Locke Lord LLP 6
11 Morrison & Foerster LLP 5
12 Latham & Watkins LLP 5
13 Faegre Drinker Biddle & Reath LLP 5
14 U.S. Department of Justice 5
15 Howrey LLP 5
16 Paul, Weiss, Rifkind, Wharton & Garrison 5
LLP
17 DLA Piper LLP 5
18 Mayer Brown LLP 5

 

 

 

Note: Cases with more than one law firm as listed on complaint are attributed to each firm.

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Electronic copy avaitable at: https://ssrn.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 13 of 37

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Total Settlement Amount by Year

From the data analyzed, 2016 and 2018 stand out for the total settlement amount by year. These years are
also notable for the number of settlements reaching final approval. In 2016, 154 settlements reached final approval,
while in 2018, 176 settlements did the same.

High dollar settlements in 2016 include:
¢ In re: Credit Default Swaps Antitrust Litigation: $1.8B
e In re: Urethane Antitrust Litigation: $835M
¢ In re: Automotive Parts Antitrust Litigation: $224M for end payors class (first round of settlements)

High dollar settlements in 2018 include:
e In re: Foreign Exchange Benchmark Rates Antitrust Litigation: $2.3B
¢ In re: LIBOR Based Financial Instruments Antitrust Litigation: $590M
e In re: ISDAfix Antitrust Litigation: $504M

After a record year in 2018 of $5.3B, the settlements in 2019 declined significantly to only $974M.

Figure 8: Total Settlement Amount by Year
2009 - 2019

Total Settlement Amount by Year
$24.1B from 2009 - 2019

S6B
$5.3B

S5B $4:7B
S4B

$3.2B
$3B $2.8B

$2.2B

$28 $1.68
ae $1B $931M $974M
SM =

2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 2019
Year

Total Settlement Amount

12
Electronic copy available at: https://ssrn.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page

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Average Settlement Amount by Year

Figure 9: Mean and Median Federal Case Settlement Amount by Year

Year

2009

2010

2011

2012

2013

2014

2015

2016

2017

2018

2019

2009 - 2019

Mean and Median Settlement Amount by Year
$24.1B from 2009 - 2019

| |
—— $39M
S4M
S6M
$3M
$18M
4M |
$14M
$2M
ee $26M
511M

Sa 510M
ee $31M

$5M

§30M

S5M

|
$24M
S6M
$30M
$8M
SoM
$2M |
SM S10M S20M S30M S40M

Settlement Amount

Electronic copy available at: https://ssrn.com/abstract=3696575

14 of 37

= Mean

m™ Median

$41M

S50M

13
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 15 of 37

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Aggregate Settlement Value by Size

Figure 10: Aggregate Federal Settlement Value by Size

2009 - 2019
Aggregate Settlement by Value Size
S25M as
2009 eri

$S90M
2010 $135M

119M B46
2011 $410M ,
$73M s718
Reais 718M
2012 140M

814M
2013 eS0oM >

Year

w Under $10 Million

@ $100-$499 Million

210
$1.48 = $500 Million or More
2015 $1.1B

$512M

 

2016
2017
292M 198
2018 $3.1B
213 :
578M
2019 $183M
SM S1B $2B $3B S4B

Total Settlement

14
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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 16 of 37

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Settlements by Industry

2009 - 2019

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Financial Services
Pharmaceuticals
Electronics Manufacturing
Automotive Manufacturing
Chemical Manufacturing
Airlines

Agriculture

Publishing

Logistics and Freight

Media

Manufacturing - Wood Products
Healthcare

Entertainment
Telecommunications
Manufacturing - Metals
Energy

Athletics

Construction / Manufacturing
Insurance

Food Processing

All Others

Figure 11: Aggregate Settlement Amount by Industry

 

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$7,503,289,307 89 $84,306,621
$2,850,016,778 64 $44,531,512
$2,660,189,566 117 $22,736,663
$2,173,918,069 358 $6,072,397
$1,680,789,300 51 $32,956,653
$1,493,809,442 43 $34,739,754
$725,962,500 28 $25,927,232
$584,419,000 9 $64,935,444
$526,565,228 30 $17,552,174
$474,000,000 5 $94,800,000
$376,400,000 $125,466,667
$310,086,687 48 $6,460,139
$729,566,763 $81,062,974
$270,258,618 $135,129,309
$236,558,749 13 $18,196,827
$233,900,000 18 $12,994,444
$213,414,445 $106,707,223
$209,450,000 $26,181,250
$131,975,769 $43,991,923
$112,795,500 11 $10,254,136
$1,520,705,907 58 $26,219,067

 

 

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 17 of 37

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Recoveries by Class Type

The number of settlements and the amount of the class recoveries are strikingly different for direct

purchaser class actions than for indirect purchaser class actions. From 2009 through 2019, direct purchaser
actions recovered far more in total than indirect purchaser actions—$20.2 billion and $3.5 billion, respectively.
That is because there were over twice as many direct purchaser settlements as indirect purchaser settlements,
and because the direct purchaser settlements averaged slightly over $30 million while the indirect purchaser
settlements averaged slightly over $12 million. The ultimate result is that direct purchaser settlements recovered
almost six times as much—5.75 times as much, to be precise—as indirect purchaser actions.

Figure 12: Recoveries by Class Type

2009 - 2019

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ELIT ISS UTS CR RY = cd (cYany=t 0) Ce ae eT eT Ly rea PeNiarelelays
Direct Purchaser Classes 669 69.0% $20,202,853,745 84%
Indirect Purchaser / End Payor Purchaser Classes 289 29.8% $3,510,556,401 15%
Class of Direct & Indirect Purchasers 5 0.5% $294,025,769 1%
Other Classes 6 0.6% $109,100,000 0%
Total 100% $24,116,535,915 100%

 

Recoveries by Class Type

Other Classes

_Class of Direct & Indirect
0% a

Purchasers
1%

  

Indirect Purchaser / End
Payor Purchaser Classes
15%

Direct Purchaser Classes
84%

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Electronic copy available at: https://ssm.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 18 of 37

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Settlements by Alleged Antitrust Violation

The vast majority of antitrust recoveries in federal court—just shy of 90%—were in cases brought only under
Section 1 of the Sherman Act. These entail allegations of a contract, combination or conspiracy—sometimes
called concerted action—and would include traditional horizontal agreements to fix prices. Far fewer recoveries
occurred in actions—slightly over 2%—based solely on Section 2 of the Sherman Act, which does not require
concerted action and would include illegal monopolization. Almost 9% of recoveries came in actions pursuing
claims under both Section 1 and Section 2. The recoveries were more balanced when measured not by number
of settlements but by amounts recovered. Section 1 claims accounted for slightly over $18 billion of
recoveries—75%—Section 2 claims for slightly over $1 billion—5%—and cases involving claims under Section 1
and Section 2 for almost $5 billion—20%.

Figure 13: Recoveries by Class Type

 

2009 - 2019

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AUS Ss AGA Ue eal RY=) ad(cteat=la) Ce) mela sl ged 1 eUinelereys rNiarelvlais
Sherman Act 1 861 89% $18,069,049,766 75%
Sherman Act 2 20 2% $1,115,200,000 5%
Sherman Act 1 & Sherman Act 2 85 9% $4,820,461,149 20%
Other Alleged Antitrust Violations 3 0% $111,825,000 0%
Total 100% $24,116,535,915 100%

 

Settlements by Alleged Antitrust Violation

! d Antitrust
Sherman Act1& = Other Alleged Antitrus

- Violati
Sherman Act 2 a =
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Sherman Act2__
2%

Sherman Act 1
89%:

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 19 of 37

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Cases with Settlements Reaching Final Approval in 2019

 

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Sullivan v. Barclays PLC et al Lovell Stewart Halebian Jacobson LLP
1 (Euribor) - Direct Purchasers Lowey Dannenberg PC see eee

; F Barrett Law Group PA
2, ae aeine EGU ratErast Cuneo Gilbert & LaDuca LLP $104,240,160

Litigation - Dealership Actions larson King LLP

Liquid Aluminum Sulfate Antitrust Carella, Byrne, Cecchi, Olstein, Brody
3 Litigation - Direct Purchasers & Agnello aed
Berger Montague PC

Cohen Milstein Sellers & Toll PLLC

4 Dental Supplies Antitrust Litigation Hausfeld LLP $80,000,000
Susman Godfrey LLP
5 Laydon v. Mizuho Bank, Ltd. et al oteribannentersiae $71,000,000
(Euroyen)
6 Beltran, et al v. Interexchange, Inc., Boies Schiller Flexner $65,500,000
et al Towards Justice

: : Freed Kanner London & Millen LLC
7" ae eno ee Kohn Swift & Graf PC $61,060,074
8 Preti Flaherty Beliveau & Pachios LLP

Domestic Airline Travel Antitrust Cotchett, Pitre & McCarthy LLP
: Litigation Hausfeld LLP pee eoo ane
Transpacific Passenger Air Cotchett Pitre & McCarthy LLP
9 Transportation Antitrust Litigation Hausfeld LLP $58,000,000
10 Seaman v. Duke University, et al ES greenis: Rayspngee $54,500,000

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 20 of 37

 

Cases with Settlements Reaching Final Approval in 2019 (Continued)

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11 Indirect Purchasers Cotchett, Pitre & McCarthy LLP $34,590,000
Dealer Management Systems
12 Antitrust Litigation - Dealership Milberg Tadler Phillips Grossman LLP $29,750,000
Actions
a . . Miller Law LLC
13 Led Aue a pee ATE Stearns Weaver Miller Weissler Alhadeff $29,250,000
Litigation - Indirect Purchasers :
& Sitterson PA
Bonnett, Fairbourn, Friedman & Balint PC
Insurance Brokerage Antitrust Cafferty Clobes Meriwether & Sprengel LLP
14 Litigation (MDL 1663) - Foote, Mielke, Chavez & O’Neil LLC $21,950,000
Syndicate Class Robbins Geller Rudman & Dowd LLP
Zwerling, Schachter & Zwerling LLP
Parking Heaters Antitrust Hausfeld LLP
> Litigation - Direct Purchasers Roberts Law Firm PA peu
Western States Wholesale Natural Barry Law Offices LLC
16 Gas Antitrust Litigation - McCallister Law Group LLC $11,750,000
Kansas & Missouri Classes Polsinelli PC
Parking Heaters Antitrust Cooper & Kirkham PC
a Litigation - Indirect Purchasers Law Offices of Francis O. Scarpulla noe
Aftermarket Automobile Sheet Hartley LLP
18 Metal Parts Antitrust Litigation Heins Hae & Olson PLC $3,250,000
(MDL 2113)
. A me Wagstaff & Cartmell LLP
19 Asacol Antitrust Litigation Wexler Wallace LLP $2,745,528
19

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 21 of 37

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Top 50 Cases with Settlements Reaching Final Approval

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Foreign Exchange Benchmark

2009-2019

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Hausfeld LLP

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1 Rates Antitrust Litigation - Direct Scott+Scott Attorneys at Law LLP $2,310,275,000
Purchasers
Credit Default Swaps Antitrust Pearson Simon & Warshaw LLP
4 Litigation - Direct Purchasers Quinn Emanuel Urquhart & Sullivan LLP sb 869 650,000
Hausfeld LLP
Air Cargo Shipping Services Antitrust Kaplan Fox & Kilsheimer LLP
a Litigation - Direct Purchasers Levin Sedran & Berman Pe ae
Robins Kaplan LLP
TFT-LCD (Flat Panel) Antitrust Alioto Law Firm
“i Litigation - Indirect Purchasers Zelle LLP pb G82, 083,647
; Cotchett Pitre & McCarthy LLP
5 nae par SERS IRaer” Robins Kaplan LLP $1,036,892,658
Susman Godfrey LLP
Urethane Antitrust Litigation - Cohen Milstein Sellers & Toll PLLC
a Direct Purchasers Fine Kaplan and Black RPC gon gas
Klein et al v. Bain Capital Partners, Robbins Geller Rudman & Dowd LLP
7 LLC et al (Leveraged Buyouts) - Robins Kaplan LLP $590,500,000
Direct Purchasers Scott + Scott Attorneys at Law LLP
LIBOR Based Financial Instruments Hausfeld LLP
8 Antitrust Litigation (MDL 2262) - $590,000,000
Susman Godfrey LLP
OTC Class
Electronic Books Antitrust Litigation - Cohen Milstein Sellers & Toll PLLC
4 Direct Purchasers Hagens Berman Sobol Shapiro LLP Se
King Drug Company of Florence, Inc v.
10 Cephalon, Inc., et al (Provigil) - Garwin Gerstein & Fisher LLP $512,000,000
Direct Purchasers
20

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 22 of 37

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Top 50 Cases with Settlements Reaching Final Approval 2009-2019 (Continued)

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11 Smieeeme eee oo - Robbins Geller Rudman & Dowd LLP $504,500,000
Scott+Scott Attorneys at Law LLP
12 Sullivan v. Barclays PLC et al (Euribor) - Lovell Stewart Halebian & Jacobson LLP $491,500,000
Direct Purchasers Lowey Dannenberg PC
Freed Kanner London & Millen LLC
Automotive Parts Antitrust Kohn Swift & Graf PC
3 Litigation - Direct Purchasers Preti Flaherty Beliveau & Pachios LLP ee
Spector Roseman & Kodroff PC
14 TFT-LCD - Direct Purchasers eager eng Conse $473,022,242
Pearson Simon & Warshaw
Berger Montague PC
High-Tech Employee Antitrust Grant & Eisenhofer PA
8 Litigation - Direct Purchasers Joseph Saveri Law Firm Inc. ce OO
Lieff Cabraser Heimann & Bernstein LLP
; . Barrett Law Group PA
16, (euometve Parts Apurrust Cuneo Gilbert & LaDuca LLP $402,379,787
Litigaton - Dealership Actions .
Larson King LLP
: . Berger & Montague PC
17 ae, ee — Hulett Harper Stewart $385,500,000
8 Robbins Geller Rudman & Dowd LLP
Kleen Products LLC et al v. ;
18 International Paper et al - iieee Renwer pom e S $376,400,000
. MoginRubin LLP
Direct Purchasers
ar ; Cotchett Pitre & McCarthy LLP
Precision Associates Inc et al v. Gustafson Gluek PLLC
19 Panalpina World Transport . : $344,315,228
ee seaerer| Lockridge Grindal Nauen PLLP
Lovell Stewart Halebian & Jacobson LLP
. Berman Tabacco
BO eee ee Lovell Stewart Halebian & Jacobson LLP $307,000,000
(Euroyen) - Direct Purchasers
Lowey Dannenberg
21

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 23 of 37

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Top 50 Cases with Settlements Reaching Final Approval 2009-2019 (Continued)

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Southeastern Milk Antitrust

Baker Hostetler

 

 

es Litigation - Direct Purchasers Brewer & Terry PC eae
Cooper & Kirkham
Dynamic Random Access Memory - Gustafson Gluek PLLC
22 Indirect Purchasers MoginRubin LLP Bee 0200
Straus & Boies
Polyurethane Foam Antitrust Boies Schiller Flexner LLP
ee Litigation - Direct Purchasers Quinn Emanuel Urquhart & Sullivan LLP aia ocn 00
Berger Montague PC
Tricor Direct Purchaser Antitrust a i Pn ee
24 Litigation - Direct Purchasers Odom & Des Roches $250,000,000
Rosenthal Monhait & Goddess
The Smith Foote Law Firm
Dial Corporation, et al v. News Kellogg Hansen Todd Figel & Frederick PLLC
Za Corporation et al - Direct Purchasers Susman Godfrey LLP eee oe
Pharmaceutical Industry Average aaa repent F hemlet?
26 Wholesale Price Litigation _ $234,000,000
(MDL 1456) - Indirect Purchasers Spector, Roseman, Kodroff & Willis PC
Wexler Wallace LLP
Municipal Derivatives Antitrust Boies Schiller Flexner LLP
27 Litigation (DL 1950) - Direct Hausfeld LLP $223,514,307
Purchasers Susman Godfrey LLP
2g> ee noes Roy UR eS eae Saveri & Saveri $212,200,000
Direct Purchasers
National Collegiate Athletic .
29 Association Athletic Grant-in-Aid Cap Se cee oe $208,664,445
AntitrustLitigation - Direct Purchasers
Steel Antitrust Litigation - Fine Kaplan and Black RPC Kellogg Hansen
a0 Direct Purchasers Todd Figel & Frederick PLLC $193,899,999
22

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 24 of 37

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Top 50 Cases with Settlements Reaching Final Approval 2009-2019 (Continued)

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. . ae Berger Montague PC
31 Ser ce, Ee 3 Anutrust Litigation Cohen Milstein Sellers & Toll PLLC $192,500,000
Spector Roseman Kodroff & Willis PC
Neurontin Antitrust Litigation Garwin Gerstein & Fisher LLP
a2 (MDL 1479) Kaplan Fox & Kilsheimer LLP $190,000,000
: LF ; Cook, Hall & Lampros LLP
eer Re dorcs Grant & Eisenhofer PA $180,000,000
Direct Purchasers ,
Milberg LLP
Fe eee eae cle ayencras Taus, Cebulash & Landau LLP $179,093,858
Corporation, et al - Direct Purchasers
come, : Cohen Milstein Sellers & Toll PLLC
35 Testor worse rs AnHtrust Hagens Berman Sobol Shapiro LLP $168,950,000
Susman Godfrey LLP
: : .n oe Faruqi & Faruqi LLP
36 See ae Litigation - Garwin Gerstein & Fisher LLP $166,000,000
Hagens Berman Sobol Shapiro LLP
Haley Paint Company, et al v. Kronos i pak Law Firm Inc
37 Worldwide, Inc. (Titanium Dioxide) - : P . . $163,500,000
Direct Purchasers Lieff Cabraser Heimann & Bernstein LLP
Shapiro Sher Guinot & Sandler
Polyurethane Foam Antitrust :
ae Litigation - Indirect Purchasers Mile tawelG eee
Flonase Antitrust Litigation - Direct Hagens Berman Sobol Shapiro LLP
a Purchasers Kessler Topaz Meltzer & Check LLP one
Transpacific Passenger Air .
40 Transportation Antitrust Litigation - So ng $147,902,000
; ’ Hausfeld LLP
Direct and Indirect Purchasers
23

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 25 of 37

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Top 50 Cases with Settlements Reaching Final Approval 2009-2019 (Continued)

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Aggrenox Antitrust Litigation . . ;
41 (MDL 2516) - Direct Purchasers Garwin Gerstein & Fisher LLP $146,000,000
| . : Berman Tabacco
a2, Weppeblgmlon Batten es ntittust Pearson Simon & Warshaw LLP $139,300,000
Litigation - Direct Purchasers . :
Saveri & Saveri
Bernstein Liebhard
. Hausfeld LLP
43 eee cee Cae Lite DePalma Greenberg $136,425,000
8 Susman Godfrey LLP
Weinstein Kitchenoff & Asher LLC
, a Berger Montague PC
44 lst: oc Vem eteee Lief Cabraser Heimann & Bernstein LLP $130,000,000
P Quinn Emanuel Urquhart & Sullivan LLP
Insurance Brokerage Antitrust .
a . Cafferty Clobes Meriwether & Sprengel LLP
45 Litigation (MDL 1663) - Direct Whatley Drake & Kallas LLC $110,025,769
Purchasers
. : Raa © Cohen Milstein Sellers & Toll PLLC
46 iene Seas Litigation - Girard Gibbs LLP $104,750,000
Heins Mills & Olson PLC
47 Capacitors Antitrust Litigation Joseph Saveri Law Firm Inc $99,500,000
Prograf Antitrust Litigation - Direct Garwin Gerstein & Fisher LLP
8 Purchasers Hagens Berman Sobol Shapiro LLP 398,000,000
Berger Montague PC
Faruqi & Faruqi LLP
. . Glasser & Glasser PLC
Fo) i geee tee ale cuu CS LCC E ile Hagens Berman Sobol Shapiro LLP $94,000,000
Litigation
Nussbaum Law Group
Radice Law Firm PC
Taus, Cebulash & Landau LLP
Liquid Aluminum Sulfate Antitrust Carella, Byrne, Cecchi, Olstein, Brody
24 Litigation - Direct Purchasers & Agnello oe
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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 26 of 37

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Class Recovery by Settlement Size

This report analyzes class recoveries by dividing settlements by a category, with the smallest settlements
included in a single category of recoveries under $10 million and the largest settlements in a category of $1
billion or more.

Generally speaking, the larger the class settlement recovery by category, the higher the median percentage the
class retained, the lower the median percentage awarded in attorney’s fees, and the lower the median
percentage paid in expenses. As shown in Figure 15, for recoveries under $10 million, the median percentage
the class received was 64% and the median fees and costs awarded were 30% and 6%, respectively. In contrast,
for settlement recoveries greater than or equal to $1 billion the median class recovery was 85%, the median fee
award 14%, and the median expenses 1%.

While the median class recovery on the whole increased incrementally as a percentage of the class settlement,
and the median expenses incrementally decreased, the awards of attorney’s fees varied less. The median award
of attorney’s fees remained largely between 28 and 30% for recoveries up to $1 billion. The median fee award
decreased significantly—again, to 14%—only for recoveries greater than or equal to $1 billion.

There was one category—recoveries of $250-$499 million—that did not fit the general pattern. In this category,
the median recovery by the class was slightly higher than would be expected—74%—and the median award of

attorney’s fees was slightly lower—25%. It is not clear why. The best explanation may just be random variation,
particularly because the discrepancies are not that large.

Looking at the data as a whole, Figure 16 illustrates the median class recovery was 67% of the settlement
amount, the median award of attorney's fees was 30%, and the median expenses were 3%. When we move from
the median to totals, we see that plaintiff classes received 75% of the total settlement recoveries between 2009
and 2019, attorney’s fees awards were 23%, and expenses were 2%.

Many of these numbers would be expected. For example, as the settlement recoveries increase in size, the
percentage allocated in expenses decreases. That likely reflects economies of scale, ones that have generally
been recognized by commentators.

The median numbers in this Report, however, reveal that a typical award in antitrust class actions is actually 28
to 30%. They also indicate that 30% is typical unless the recovery is greater than $100 million. Further, they
suggest that so-called “mega-funds”—in which attorneys receive a significantly smaller percentage fee award
when there is a really large class recovery—arise only when there is a settlement in excess of $1 billion. To
confirm this last point, additional analyses of awards just below and just above $1 billion would be helpful.

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 27 of 37

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Class Recovery by Settlement Size (continued)

This analysis largely involves medians. It does so because median are informative about typical cases. It protects
against weighing larger settlements more heavily than smaller settlements in assessing patterns. Note, for
example, that we get different results when we analyze the median fees and expenses for all of the settlements
than when we consider the total percentages allocated to fees and expenses. Yet these results are perfectly
consistent. As for the typical antitrust class action from 2009 through 2019, the court awarded 30% of the class
recovery in fees and 3% in expenses, and 67% of the recovery was available to class members. Medians help to
analyze a typical case, weighing large and small cases equally.

In contrast, an analysis of overall percentages as illustrated in Figure 17, weighs cases with larger recoveries
more heavily than cases with smaller recoveries. But that approach can be valuable too. The overall amounts
and percentages can be particularly instructive if we want to assess the benefits and efficiency of private
antitrust enforcement. In that case, it is useful to know that the total recovery over 11 years was slightly in
excess of $24 billion, that lawyers received 23% of this amount—about $5.5 billion—that expenses

totaled 2%—about $480 million—that the plaintiff classes had available 75% of the total settlements—about

$18 billion.

Figure 14: Class Recovery by Settlement Size - Median

2009 - 2019
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S1B + 85% 14% 1% 100%
$500-S999M 72% 28% 1% 100%
$250-S499M 74% 25% 1% 100%
$100-$249M 71% 28% 1% 100%
$50-S99M 68% 30% 2% 100%
$10-S49M 65% 31% 4% 100%
<S10M 64% 30% 6% 100%
All Settlements 67% 30% 3% 100%

 

 

 

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 28 of 37

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Class Recovery by Settlement Size (continued)

Figure 15: Class Recovery by Settlement Size - Median
2009 - 2019

Recovery for All Settlements
Median

Expenses
3%

 
 
  
 

Attys Fees
30%

Class Recovery
67%

Figure 16: Class Recovery by Settlement Size - Total Percentages
2009 - 2019

Recovery for All Settlements
Total Percentages

Expenses
2%

Attys Fees
23%

Class Recovery
75%

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Electronic copy available at: https://ssrn.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 29 of 37

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Top 25 Firms Acting as Defense Counsel

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1 Gibson, Dunn & Crutcher LLP 372
2 Latham & Watkins LLP 359
3 Kirkland & Ellis LLP 288
4 Skadden, Arps, Slate, Meagher & Flom LLP 253
5 Hogan Lovells US LLP 241
6 Freshfields Bruckhaus Deringer LLP 234
7 Morgan Lewis & Bockius LLP 234
8 O’Melveny & Myers LLP 224
9 Jones Day 210
10 Simpson Thacher & Bartlett LLP 195
11 Covington & Burling LLP 191
12 Paul, Weiss, Rifkind, Wharton & Garrison LLP 184
13 Arnold & Porter Kaye Scholer LLP 183
14 Vinson & Elkins LLP 181
15 Cleary Gottlieb Steen & Hamilton LLP 172
16 WilmerHale 171
17 Winston & Strawn LLP 166
18 Wilson Sonsini Goodrich & Rosati 161
19 Sullivan & Cromwell LLP 157
20 White & Case 155
21 Sidley Austin LLP 154
22 Foley & Lardner LLP 151
23 Faegre Drinker Biddle & Reath LLP 150
24 Boies, Schiller & Flexner LLP 140
25 Mayer Brown LLP 138

 

 

 

Note: Cases with more than one law firm listed on the docket are attributed to each firm.

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Electronic copy available at: https://ssrn.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 30 of 37

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Top 25 Lead Counsel in Complaints Filed

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1 Hausfeld LLP 241
2 Hagens Berman Sobol Shapiro LLP 237
3 Spector Roseman & Kodroff PC 236
4 Berger Montague PC 214
5 Cohen Milstein Sellers & Toll PLLC 202
6 Lockridge Grindal Nauen PLLP 191
7 Gustafson Gluek PLLC 190
8 Cuneo Gilbert & LaDuca LLP 178
9 Cotchett, Pitre & McCarthy LLP 168
10 Susman Godfrey LLP 165
11 The Miller Law Firm (Rochester, Ml) 157
12 Barrett Law Group PA 157
13 Freed Kanner London & Millen LLC 156
14 NastLaw LLC 156
15 Nussbaum Law Group PC 155
16 Grant & Eisenhofer PA 152
17 Labaton Sucharow LLP 148
18 Mantese Honigman PC 143
19 Kohn, Swift & Graf PC 131
20 Glancy Prongay & Murray LLP 130
21 Kaplan Fox & Kilsheimer LLP 129
22 Scott+Scott Attorneys at Law LLP 124
23 Robins Kaplan LLP 124
24 Pomerantz LLP 115
25 Heins Mills & Olson PLC 114

 

 

 

Note: Filings with more than one law firm as listed on complaint are attributed to each firm.

29
Electronic copy available at: https://ssrn.com/abstract=3696575
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 31 of 37

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Top 25 Lead Counsel in Number of Settlements

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1 Cotchett Pitre & McCarthy LLP 168
2 Susman Godfrey LLP 155
3 Cuneo Gilbert & LaDuca LLP 152
4 Barrett Law Group PA (tie) 145
4 Larson King LLP (tie) 145
6 Robins Kaplan LLP 133
7 Hausfeld LLP 110
8 Berger Montague PC 66
9 Freed Kanner London & Millen LLC 65
10 Labaton Sucharow LLP 61
11 Spector Roseman & Kodroff PC 60
12 Kohn Swift & Graf PC 58
13 Preti Flaherty Beliveau & Pachios LLP 55
14 Lovell Stewart Halebian & Jacobson LLP 50
15 Gustafson Gluek PLLC 48
16 Kaplan Fox & Kilsheimer LLP 46
17 Cohen Milstein Sellers & Toll PLLC 44
18 Quinn Emanuel Urquhart & Sullivan LLP Al
19 Hagens Berman Sobol & Shapiro LLP (tie) 38
19 Pearson Simon & Warshaw LLP (tie) 38
19 Scott+Scott Attorneys at Law LLP (tie) 38
22 Levin Sedran & Berman LLP (tie) 34
22 Saveri & Saveri Inc. (tie) 34
24 Lockridge Grindal Nauen PLLP 33
25 Garwin Gerstein & Fisher LLP 31

 

 

 

Note: Settlements with more than one law firm as lead counsel are attributed to each firm.

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 32 of 37

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Top 25 Lead Counsel in Class Recovery

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1 Hausfeld LLP $5,199,341,749 110 $47,266,743
2 Scott+Scott Attorneys at Law LLP $3,472,275,000 38 $91,375,658
3 Susman Godfrey LLP $2,813,703,437 155 $18,152,925
4 SRC Urquhart & $2,781,050,000 41 $67,830,488
5 Pearson Simon & Warshaw LLP $2,777,886,687 38 $73,102,281
6 Cohen Milstein Sellers & Toll PLLC $2,446,372,989 44 $55,599,386
7 Robins Kaplan LLP $2,321,485,100 133 $17,454,775
8 a oe SPBONE $2,074,236,895 38 $54,585,181
9 Berger Montague PC $2,062,585,568 66 $31,251,296
10 Kaplan Fox & Kilsheimer LLP $1,856,444,942 46 $40,357,499
11 Cotchett Pitre & McCarthy LLP $1,718,097,363 168 $10,226,770
12 Garwin Gerstein & Fisher LLP $1,627,999,000 31 $52,516,097
13 eee ee $1,555,900,000 29 $53,651,724
14 Levin Sedran & Berman LLP $1,331,023,917 34 $39,147,762
15 Se ie eal gaa Ss $1,310,822,242 26 $50,416,240
16 fae HaleBlams: $1,289,995,228 50 $25,799,905
17 Zelle LLP $1,142,427,647 29 $39,394,057
18 Fine Kaplan and Black RPC $1,141,868,749 19 $60,098,355
19 Alioto Law Firm $1,083,199,397 17 $63,717,612
20 Spector Roseman & Kodroff PC $1,057,445,394 60 $17,624,090
21 Freed Kanner London & Millen LLC $980,589,144 65 $15,085,987
22 Labaton Sucharow LLP $858,035,750 61 $14,066,160
23 Boies Schiller Flexner LLP $796,295,778 27 $29,492,436
24 Gustafson Gluek PLLC $707,981,703 48 $14,749,619
25 Joseph Saveri Law Firm LLC $698,000,000 13 $53,692,308

 

 

 

Note: Settlements with more than one law firm as lead counsel are attributed to each firm.

31
Electronic copy available at: https://ssrn,com/abstract=36965/5
Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 33 of 37

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Top Claims Administrators

Figure 17: Top Claims Administrators by Aggregate Settlement Amount

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2009 - 2019

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Epiq $11,291,439,899 349 $32,664,101
Rust Consulting $5,811,210,285 153 $37,981,767
KCC $2,751,260,902 223 $12,285,629
A.B. Data $1,726,891,500 79 $21,796,644
Heffler Claims $610,550,000 23 $26,545,652
RG/2 Claims Administration $323,569,068 49 $6,603,450
Other $1,623,849,261 97 $16,740,714

 

 

Figure 18: Top Claims Administrators by Number of Settlements

Claims Administrators

2009 - 2019

Top Claims Administrators by # of Settlements

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KCC a oe] 223
Rust Consukting I TTT 153
A8.Data 79
RG/2 Claims Administration [TT 49
Heffler Claims = 23
Othe [I 97
0 50 100 150 200 250 300 350 400
Number of Settlements
Notes:

1. Epig includes the Garden City Group (GCG)
2. Rust Consulting includes Complete Claims Solutions and Kinsella Media
3. KCC includes Administar and Rosenthal & Company

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 34 of 37

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Methodology and Sources

Cases Analyzed

The cases analyzed in the preceding report represent three individual data sets: complaints filed from 2009-
2019, cases won by defendants from 2009-2019, and cases with settlements reaching final approval or verdicts
awarded within the time period of 2009-2019. Settlement data analyzed within the 2009-2019 period are not
first evatuated by complaint filing date; which is to say, any settlement granted final approval during the eleven
year analysis period is represented in the data, regardless of when the complaint was filed. Only settlements
granted final approval within the eleven year analysis period are represented in the data. Regarding cases with
multiple settlements, settlements reaching final approval outside of the eleven-year period of the study are
excluded. Settlement Amounts refer to the full dollar value awarded by the court, inclusive of awards to lead
plaintiffs, attorneys’ fees, expenses, etc.

Sources

Data for this report are collected primarily through Lex Machina’s Legal! Analytics Platform. Lex Machina uses
artificial intelligence to categorize federal court case data from PACER (Public Access to Court Electronic Records).
The case data obtained from Lex Machina was verified by the supporting court docket and supplemented

with additional data points also available through the Lex Machina platform. All analysis, commentary, and
conclusions were reviewed by each member of the authoring team.

Historical data in this report may vary from last year’s edition due to updates in case status, additional sources
of information, or new methodology for analysis. The authors will continually update the data set for accuracy to
provide the most recent information available.

The data gathered are not necessarily exhaustive of every settlement during the analyzed period. While this is
intended to be an accurate reflection of class action matters in federal courts, there is a possibility that cases
have been excluded due to source limitations or unintentional error.

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33
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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 35 of 37

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34
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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 36 of 37

 

 

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Case 1:20-cv-03010-APM Document 80-3 Filed 12/14/20 Page 37 of 37

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